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                      UNITED STATES DISTRICT COURT

                              DISTRICT OF OREGON

                               MEDFORD DISTRICT



 RONALD C. SCHAAF, et al.,                   Case No. 1:22-cv-00728-AA

                      Plaintiffs,
                                             JOINT STATUS REPORT
 v.

 UNITED STATES BUREAU OF
 LAND MANAGEMENT OREGON, et
 al.,

                      Defendants.




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       Pursuant to the Court’s April 12, 2024, scheduling order, the Parties hereby

submit their joint status report. To date, three of the four federal agencies assert that

they have provided their final disclosures to Plaintiffs.

The U.S. Bureau of Land Management Headquarters (“BLM HQ”)

       On August 30, 2022, in response to FOIA request tracking number DOI-BLM-

2021-000331, BLM HQ disclosed 225 pages of responsive records. On February 27,

2023, BLM HQ provided 47 pages to Plaintiffs through an interim disclosure. On

March 21, 2023, BLM disclosed an additional 26 pages of responsive records to

Plaintiffs in its final response to the FOIA request.

BLM of Oregon and Washington (“BLM OR/WA”)

       In response to FOIA request tracking number DOI-BLM2021-001950, BLM

OR/WA produced 103 pages of responsive records in March and April of 2021 during

the administrative stage prior to this litigation. BLM OR/WA’s disclosures made at

the administrative stage were the agency’s final response to Plaintiffs’ FOIA request.

Customs and Border Protection (“CBP”)

       On March 22, 2023, CBP made its final disclosure of 123 pages of responsive

records to Plaintiffs.

Federal Bureau of Investigation (“FBI”)

       The FBI has identified approximately 5,773 pages of records that are

potentially responsive to Plaintiffs’ FOIA request, and will produce any responsive,

non-exempt, reasonably segregable portions of those records to Plaintiff on a rolling



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basis. The FBI anticipates that it will process approximately 500 pages each month

and make productions of responsive, non-exempt, reasonable segregable portions of

those records on the last business day of each month. The final remaining documents

currently being processed by the FBI have been referred to the U.S. Department of

State (“DOS”) for consultation because DOS has equities in those records. DOS is

currently processing the consultation request and once complete, the FBI will

determine what documents, if any, it will produce to Plaintiffs.

      The Parties will reconvene after the FBI has finalized its disclosures and

determine whether any issues remain to be resolved on summary judgment.

      Respectfully Submitted this 18th day of June, 2024.


/s/ David A. Bahr                             NATALIE K. WIGHT
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